









Dismissed and Opinion filed February 27, 2003









&nbsp;

Dismissed and Opinion filed February 27, 2003.




 
  
  
  
  
  
 




&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01199-CR

NO.
14-02-01203-CR

____________

&nbsp;

JENNIFER
RHODES, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 263rd District Court

Harris
County, Texas

Trial
Court Cause Nos. 847,421 &amp; 847,547

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp;
See Tex. R. App. P.
42.2.&nbsp; Because this Court has not
delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Opinion filed
February 27, 2003.

Panel consists of Justices Anderson,
Seymore, and Guzman.

Do not publish ‑ Tex. R. App. P. 47.2(b).





